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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUl\/IBIA

UNlTED STATES ()F AMERICA
CRll\/lfNAl, NO. 17-201-2 (ABJ)(S-?.)

v. Violations: 18 U.S.C. §§ 371 and 1001(a)

RICHARD W. GATES 111,
Case: 1:17-cr-201

Assigned To : Judge Jackson Am Be
. , rm
Asslgn. Date : 2/23/2018 y an

` Description: SUPERSED|NG |NFORMA
****‘ case Relatedto; 17~cr-201 (ABJ) T|ON(A)

*****-)6**

Defendant.

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SUPERSEDING CRIMINAL INFORMATION

The Special Counsel informs the Court:

1. RICHARD W. GATES 111 (GATES) served for years as a political consultant and lobbyist.
Between at least 2006 and 2015, GATES and Paul J. l\/lanafort, Jr. (Manafort) acted as unregistered
agents of the Govemment of Ukraine, the Party of Regions (a Ukrainian political party whose
leader Victor Yanukovych Was President from 2010 to 2014), Yanukovych, and the Opposition
Bloc (a successor to the Party of Regions that formed in 2014 When Yanukovych fled to Russia).
Manafort and GATES generated tens of millions of dollars in income as a result oftheir Ukraine
work. ln order to hide Ukraine payments from United States authorities, from approximately 2006
through at least 2016, Manafort and GATES laundered the money through scores of United States
and foreign corporations, partnerships, and bank accounts

2. ln furtherance of the scheme, l\/lanafort and GATES funneled millions of dollars in
payments into foreign nominee companies and bank accounts, opened by them and their

accomplices in nominee names and in various foreign countries, including Cyprus, Saint Vincent

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& the Grenadines (Grenadines), and the Seychelles. l\/lanafort and GATES hid the existence of
the foreign companies and bank accounts, falsely and repeatedly reporting to their tax preparers
and to the United States that they had no foreign bank accounts

3. In furtherance of the scheme, l\/lanafort and GATES concealed from the United States their
work as agents ot`, and millions ofdollars in payments from, Ukraine and its political parties and
leaders. Because l\/lanafort and GATES, among other things, directed a campaign to lobby United
States officials on behalf ofthe Government of Ukraine, the President of Ukraine, and Ukrainian
political parties, they were required by law to report to the United States their work and fees.
l\/lanafort and GATES did not do so. lnstead, when the Department of Justice sent inquiries to
l\/lanafor“t and GATES in 2016 about their activities, l\/Ianafort and GATES responded with a series
of false and misleading statements

4. ln furtherance of the scheme, l\/Ianafort used his hidden overseas wealth to enjoy a lavish
lifestyle in the United States, without paying taxes on that income. Manafort, without reporting
the income to his tax preparer or the United States, spent millions of dollars on luxury goods and
services for himself and his extended family through payments wired from offshore nominee
accounts to United States vendors. Manafort also used these offshore accounts to purchase multi-
million dollar properties in the United States. l\/lanafort then borrowed millions ofdollars in loans
using these properties as collateral, thereby obtaining cash in the United States without reporting
and paying taxes on the income. ln order to increase the amount ofmoney he could access in the
United States, Manafort defrauded the institutions that loaned money on these properties so that
they would lend him more money at more favorable rates than he would otherwise be able to

obtain.

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5. GATES aided Manafort in obtaining money from these offshore accounts, which he was
instrumental in opening. Like Manafort, GATES used money from these offshore accounts to pay
for his personal expenses, including his mortgage, children’s tuition, and interior decorating of his
Virginia residence.
6. ln total, more than $75,000,000 flowed through the offshore accounts. Manafort laundered
more than 318,000,000, which was used by him to buy property, goods, and services in the United
States, income that he concealed from the United States Treasury, the Department of Justice, and
others. GATES transferred more than $3,000,000 from the offshore accounts to other accounts
that he controlled.

Relevant Individuals And Entities
7. Manafort was a United States citizen. He resided in homes in Virginia, Florida, and Long
lsland, New York.
8. GATES was a United States citizen. He resided in Virginia,
9. ln 2005, Manafort and another partner created Davis Manafort Partners, Inc. (Dl\/lP) to
engage principally in political consulting Dl\/IP had staff in the United States, Ukraine, and
Russia. In 201 1, Manafort created Dl\/IP lnternational, LLC (DMI) to engage in work for foreign
clients, in particular political consulting, lobbying, and public relations for the Government of
Ukraine, the Party ofRegions, and members ofthe Party ofRegions. Dl\/ll was a partnership solely
owned by Manafort and his spouse. GATES worked for both Dl\/IP and Dl\/ll and served as
Manafort`s right-hand man.
10. The Party of Regions was a pro-Russia political party in Ukraine. Beginning in
approximately 2006, it retained Manafort, through Dl\/lP and then Dl\/ll, to advance its interests in

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Ukraine, including the election of its slate of candidates In 2010, its candidate for President,
Yanukovych, was elected President of Ukraine. In 2014, Yanukovych fled Ukraine for Russia in
the wake of popular protests of widespread governmental corruption. Yanukovych, the Party of
Regions, and the Government of Ukraine were Manafort, DMP, and Dl\/ll clients

l 1. The European Centre for a Modem Ukraine (the Centre) was created in or about 2012 in
Belgium as a mouthpiece for Yanukovych and the Party of Regions. The Centre was used by
Manafort, GATES, and others in order to lobby and conduct a public relations campaign in the
United States and Europe on behalfofthe existing Ukraine regime. The Centre effectively ceased
to operate upon the downfall of Yanukovych in 2014.

12. Manafort and GATES owned or controlled the following entities, which were used in the
scheme (the Manafort-GATES entities):

Domestic Entities

 

 

 

 

 

 

 

 

 

 

Entity Name §I)ate Created Incorporation Location
Bade LLC (RG) January 2012 Delaware

August 2008 Virginia
Daisy Manafort, LLC (Pl\/I)

March 201 1 Florida
Davis Manafort lnternational LLC March 2007 Delaware
(PM)

March 2005 Virginia
DMP (PM)

March 201 1 Florida

October 1999 Delaware
Davis Manafort, lnc. (Pl\/l) f -~~'

November 1999 Virginia
Dl\/II (PM) June 2011 Delaware

 

 

 

 

 

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Date Created

Incorporation Location

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Entity Name

March 2012 Florida
oiobal sites LLC (PM, RG) iiuiy 2008 Delaware
J@mina LLC (Ro) 'Juiy 2008 Delaware
Jesand Investment Corporation (PM) April 2002 Virginia
Jesand Investments Corporation (PM) March 201 1 Florida

April 2006 Virginia
John Hannah, LLC (PM)

March 20l 1 Florida
Jupiter Holdings Management, LLC .lanuary 2011 Delaware
(RG)
Liired, LLC (PM) loecember 201 1 Florida
LOAV Ltd. (PM) April 1992 Delaware
l\/lC Brooklyn Holdings, LLC (PM) November 2012 New York

January 2012 Florida
MC Soho Holdings, LLC (PM)

April 2012 New York
Smythson LLC (also known as iJuly 2008 Delaware
Symthson LLC) (Pl\/l, RG)

 

 

 

Cypriot Entities

 

Entity Name

Date Created

lncorporation Location

 

 

 

 

Actinet Trading Limited (PM, RG) May 2009 Cyprus
Black Sea View Limited (Pl\/l, RG) August 2007 Cyprus
Bletilla Ventures Limited (Pl\/l, RG) October 2010 Cyprus

 

 

 

 

 

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Entity Name Date Created incorporation Location
Cavenari Investments Limited (RG) December 2007 Cyprus
Global Highway Limited (PM, RG) August 2007 Cyprus
Leviathan Advisors Limited (PM, RG) August 2007 Cyprus
LOAV Advisors Limited (PM, RG) August 2007 Cyprus
Lucicle Consultants Limited (PM, RG) December 2008 Cyprus
Marziola Holdings Limited (PM) March 2012 Cyprus
Olivenia Trading Limited (Pl\/l, RG) March 2012 Cyprus
Peranova Holdings Limited (PM, RG) June 2007 Cyprus
Serangon Holdings Limited (Pl\/l, RG) January 2008 Cyprus

 

Other Foreign Entities

 

 

 

 

 

 

 

Entity Name Date Created Incorporation Location
Global Endeavour Inc. (also known as Unknown Grenadines

Global Endeavor Inc.) (PM)

Jeunet Ltd. (PM) August 201 1 Grenadines

Pompolo Limited (RG) April 2013 United Kingdom

 

13. The lnternal Revenue Service (IRS) was a bureau in the United States Department of the

Treasury responsible for administering the tax laws ofthe United States and collecting taxes owed

to the Treasury.

The Scheme

 

 

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14. Between in or around 2008 and 2017, both dates being approximate and inclusive, in the
District of Columbia and elsewhere, Manafort and GATES devised and intended to devise, and
executed and attempted to execute, a scheme and artifice to defraud, and to obtain money and
property by means of false and fraudulent pretenses, representations and promises from the United
States, banks, and other financial institutions As part of the scheme, Manafort and GATES
repeatedly provided false information to financial bookkeepers, tax accountants and legal counsel,
among others

Manafort And GATES’ Wiring Of l\/lonev From Offshore Accounts lnto The United States

15. ln order to use the money in the offshore nominee accounts of the Manafort-GATES entities
without paying taxes on it, Manafort and GATES caused millions of dollars in wire transfers from
these accounts to be made for goods, services, and real estate. They did not report these transfers
as income to Dl\/lP, Dl\/ll, or Manafort.

16. From 2008 to 2014, Manafort caused the following wires, totaling over 812,000,000, to be
sent to the vendors listed below for personal items. Manafort did not pay taxes on this income,

which was used to make the purchases

 

 

 

 

 

 

 

 

 

 

 

 

Pavee Transaction Originating Account Country of Amount of
” Date Holder Origination Transaction
Vendor A 6/10/2008 LOAV Advisors Limited Cyprus $107,000
(HOm€ 6/25/2008 LOAV Advisors Limited Cyprus $23,500
ImPrOV@m€m 7/7/2008 LOAV Advisors Limited Cyprus $20,000
Company in the 8/5/2008 Yiakora Ventures Limited Cyprus $59,000
Hamptons’ New 9/2/2008 Yiakora Ventures Limited Cyprus $272,000
YOF") 10/6/2008 Yiakora ventures Limited Cyprus 3109,000
10/24/2008 Yiakora Ventures Limited Cyprus $107,800
1 1/20/2008 Yiakora Ventures Limited Cyprus $77,400
12/22/2008 Yiakora Ventures Limited Cyprus $100,000
1/14/2009 Yiakora Ventures Limited Cyprus $9,250

 

 

 

 

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination Transaction
1/29/2009 Yiakora Ventures Limited Cyprus $97,670
2/25/2009 Yiakora Ventures Limited Cyprus 8108,100
4/16/2009 Yiakora Ventures Limited Cyprus $94,394

5/7/2009 Yiakora Ventures Limited Cyprus $54,000
5/12/2009 Yiakora Ventures Limited Cyprus $9,550
6/1/2009 Yiakora Ventures Limited Cyprus $86,650
6/18/2009 Yiakora Ventures Limited Cyprus $34,400
7/31/2009 Yiakora Ventures Limited Cyprus 8106,000
8/28/2009 Yiakora Ventures Limited Cyprus $37,000
9/23/2009 Yiakora Ventures Limited Cyprus $203,500
10/26/2009 Yiakora Ventures Limited Cyprus $38,800
11/18/2009 Global Highway Limited Cyprus $130,906
3/8/2010 Global Highway Limited Cyprus $124,000
5/1 1/2010 Global Highway Limited Cyprus $25,000
7/8/2010 Global Highway Limited Cyprus $28,000
7/23/2010 Leviathan Advisors Limited Cyprus $26,500
8/12/2010 Leviathan Advisors Limited Cyprus $138,900
9/2/2010 Yiakora Ventures Limited Cyprus $31,500
10/6/2010 Global Highway Limited Cyprus $67,600
10/14/2010 Yiakora Ventures Limited Cyprus $107,600
10/18/2010 Leviathan Advisors Limited Cyprus $31,500
12/16/2010 Global Highway Limited Cyprus $46,160
2/7/201 1 Global Highway Limited Cyprus $36,500
3/22/2011 Leviathan Advisors Limited Cyprus $26,800
4/4/201 l Leviathan Advisors Limited Cyprus $195,000
5/3/2011 Global Highway Limited Cyprus $95,000
5/16/201 l Leviathan Advisors Limited Cyprus $6,500
5/31/201 l Leviathan Advisors Limited Cyprus $70,000
6/27/201 1 Leviathan Advisors Limited Cyprus $39,900
7/27/201 1 Leviathan Advisors Limited Cyprus $95,000
10/24/201 l Global Highway Limited Cyprus $22,000
10/25/2011 Global Highway Limited Cyprus $9,300
11/15/201 l Global Highway Limited Cyprus $74,000
11/23/2011 Global Highway Limited Cyprus $22,300
11/29/2011 Global Highway Limited Cyprus $6,100
12/12/2011 Leviathan Advisors Limited Cyprus $l7,800

 

 

 

 

 

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Pavee Transaction Originating Account Country of Amount of
' Date Holder Origination Transaction
l/17/2012 Global Highway Limited Cyprus $29,800
1/20/2012 Global Highway Limited Cyprus $42,600
2/9/2012 Global Highway Limited Cyprus $22,300
2/23/2012 Global Highway Limited Cyprus $75,000
2/28/2012 Global Highway Limited Cyprus $22,300
3/28/2012 Peranova Holdings Limited Cyprus $37,500
4/18/2012 Lucicle Consultants Limited Cyprus $50,000
5/15/2012 Lucicle Consultants Limited Cyprus $79,000
6/5/2012 Lucicle Consultants Limited Cyprus $45,000
6/19/2012 Lucicle Consultants Limited Cyprus $11,860
7/9/2012 Lucicle Consultants Limited Cyprus 310,800
7/18/2012 Lucicle Consultants Limited Cyprus $88,000
8/7/2012 Lucicle Consultants Limited Cyprus $48,800
9/27/2012 Lucicle Consultants Limited Cyprus $100,000
l 1/20/2012 Lucicle Consultants Limited Cyprus $298,000
12/20/2012 Lucicle Consultants Limited Cyprus $55,000
l/29/2013 Lucicle Consultants Limited Cyprus $l49,000
3/12/2013 Lucicle Consultants Limited Cyprus $375,000
8/29/2013 Global Endeavour lnc. Grenadines $200,000
l 1/13/2013 Global Endeavour lnc. Grenadines $75,000
l 1/26/2013 Global Endeavour lnc. Grenadines $80,000
12/6/2013 Global Endeavour lnc. Grenadines 3130,000
12/12/2013 Global Endeavour lnc. Grenadines $90,000
4/22/2014 Unknown Un/mown $56,293
8/18/2014 Global Endeavour lnc. Grenadines $34,660
Vendor A Total S5,434,793
Vendor B 3/22/201 1 Leviathan Advisors Limited Cyprus 312,000
(HOm€ 3/28/201 l Leviathan Advisors Limited Cyprus $25,000
AUtOmatiOn, 4/27/201 1 Leviathan Advisors Limited Cyprus $12,000
lighting and 5/16/201 l Leviathan Advisors Limited Cyprus $25,000
Home ' 1 1/15/201 l Global Highway Limited Cyprus $17,006
Eme"a'""}€“t 1 1/23/201 1 oiobai Highway Limited Cyprus $11,000
§I‘;’:]i§:;y ‘“ 2/28/2012 oiobai Highway Limited Cyprus $6,200
10/31/2012 Lucicle Consultants Limited Cyprus $290,000
12/17/2012 Lucicle Consultants Limited Cyprus 8160,600
l/15/2013 Lucicle Consultants Limited Cyprus 3194,000

 

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Payee Transaction Originating Account Country of Amount of

Date Holder Origination Transaction
1/24/2013 Lucicle Consultants Limited Cyprus $6,300
2/12/2013 Lucicle Consultants Limited Cyprus $51,600
2/26/2013 Lucicle Consultants Limited Cyprus 3260,000
7/15/2013 Pempeie Limited Ul“ted s175,575

Kingdom
11/5/2013 Global Endeavour lnc. Grenadines 373,000
Vendor B Total $1,319,281
Vendor C 10/7/2008 Yiakora Ventures Limited Cyprus 315,750
(Anfiqu€ Rug 3/17/2009 Yiakora Ventures Limited Cyprus $46,200
StOY€ in 4/16/2009 Yiakora Ventures Limited Cyprus $7,400
Alex_arldria’ 4/27/2009 Yiakora Ventures Limited Cyprus $65,000
V"g"“a) 5/7/2009 Yiakora ventures Limited Cyprus 3210,000
7/15/2009 Yiakora Ventures Limited Cyprus $200,000
3/31/2010 Yiakora Ventures Limited Cyprus $140,000
6/16/2010 Global Highway Limited Cyprus $250,000
' Vendor C Total $934,350
Vendor D
(Related to 2/28/2012 Global Highway Limited Cyprus 8100,000
Vendor C)

Vendor D Total 3100,000
Vendor E l 1/7/2008 Yiakora Ventures Limited Cyprus 832,000
(M€n`S ClOthing 2/5/2009 Yiakora Ventures Limited Cyprus 322,750
St<)re in New 4/27/2009 Yiakora ventures Limited Cyprus 313,500
YOtk) 10/26/2009 Yiakora ventures Limited Cyprus 332,500
3/30/2010 Yiakora Ventures Limited Cyprus 315,000
5/11/2010 Global Highway Limited Cyprus $39,000
6/28/2010 Leviathan Advisors Limited Cyprus $5,000
8/12/2010 Leviathan Advisors Limited Cyprus $32,500
ll/17/2010 Global Highway Limited Cyprus $l 1,500
2/7/201 l Global Highway Limited Cyprus 324,000
3/22/2011 Leviathan Advisors Limited Cyprus $43,600
3/28/2011 Leviathan Advisors Limited Cyprus $l2,000
4/27/2011 Leviathan Advisors Limited Cyprus 3,000
6/30/201 1 Global Highway Limited Cyprus 324,500
9/26/2011 Leviathan Advisors Limited Cyprus $12,000
l 1/2/201 1 Global Highway Limited Cyprus $26,700

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination Transaction

12/12/201 1 Leviathan Advisors Limited Cyprus 846,000

2/9/2012 Global Highway Limited Cyprus $2,800

2/28/2012 Global Highway Limited Cyprus $16,000

3/14/2012 Lucicle Consultants Limited Cyprus $8,000

4/18/2012 Lucicle Consultants Limited Cyprus $48,550

5/15/2012 Lucicle Consultants Limited Cyprus $7,000

6/19/2012 Lucicle Consultants Limited Cyprus $21,600

8/7/2012 Lucicle Consultants Limited Cyprus $15,500

l l/20/2012 Lucicle Consultants Limited Cyprus $10,900

12/20/2012 Lucicle Consultants Limited Cyprus $7,500

1/15/2013 Lucicle Consultants Limited Cyprus $37,000

2/12/2013 Lucicle Consultants Limited Cyprus $7,000

2/26/2013 Lucicle Consultants Limited Cyprus $39,000

9/3/2013 Global Endeavour lnc. Grenadines $81,500

10/15/2013 Global Endeavour lnc. Grenadines $53,000

l 1/26/2013 Global Endeavour lnc. Grenadines $13,200

4/24/2014 Global Endeavour lnc. Unknown $26,680

9/1 1/2014 Global Endeavour lnc. Grenadines $58,435

Vendor E Total 5849,215

Vendor F 4/27/2009 Yiakora Ventures Limited Cyprus $34,000

(Landscaper in 5/12/2009 Yiakora Ventures Limited Cyprus $45,700

the Hampton$’ 6/1/2009 Yiakora Ventures Limited Cyprus $21,500

N€W YOrk) 6/18/2009 Yiakora ventures Limited Cyprus 329,000

9/21/2009 Yiakora Ventures Limited Cyprus $21,800

5/1 l/2010 Global Highway Limited Cyprus $44,000

6/28/2010 Leviathan Advisors Limited Cyprus $50,000

7/23/2010 Leviathan Advisors Limited Cyprus $19,000

9/2/2010 Yiakora Ventures Limited Cyprus $21,000

10/6/2010 Global Highway Limited Cyprus $57,700

10/18/2010 Leviathan Advisors Limited Cyprus $26,000

12/16/2010 Global Highway Limited Cyprus $20,000

3/22/201 1 Leviathan Advisors Limited Cyprus $50,000

5/3/201 l Global Highway Limited Cyprus $40,000

6/1/201 l Leviathan Advisors Limited Cyprus $44,000

7/27/201 l Leviathan Advisors Limited Cyprus $27,000

8/16/201 l Leviathan Advisors Limited Cyprus $l 3,450

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination Transaction
9/19/201 1 Leviathan Advisors Limited Cyprus 312,000
10/24/201 1 Global Highway Limited Cyprus $42,000
1 1/2/201 1 Global Highway Limited Cyprus $37,350
Vendor F Total $655,500
Vendor G 9/2/2010 Yiakora Ventures Limited Cyprus $165,000
(Antique Deal€r 10/18/2010 Leviathan Advisors Limited Cyprus $165,000
in New York) 2/23/2012 Glebe1 Highway Limited cyprus $190,600
3/14/2012 Lucicle Consultants Limited Cyprus $75,000
2/26/2013 Lucicle Consultants Limited Cyprus $28,310
Vendor G Total $623,910
Vendor H 6/25/2008 LOAV Advisors Limited Cyprus $52,000
(ClOthing StOr€ in 12/16/2008 Yiakora Ventures Limited Cyprus $49,000
Beverly Hills, 12/22/2008 Yiakora ventures Limited Cyprus $10,260
Califomia) 8/12/2009 Yiakora Ventures Limited Cyprus $76,400
5/1 1/2010 Global Highway Limited Cyprus $85,000
11/17/2010 Global Highway Limited Cyprus $l28,280
5/31/201 l Leviathan Advisors Limited Cyprus $64,000
l 1/15/201 l Global Highway Limited Cyprus $48,000
12/17/2012 Lucicle Consultants Limited Cyprus $7,500
Vendor H Total $520,440
Vendor I
(InV€Stm€nf 9/3/2013 Global Endeavour lnc. Grenadines $500,000
Company)
Vendor I Total $500,000
Vendor J l 1/15/201 l Global Highway Limited Cyprus $8,000
(COntraCtOr in 12/5/201 l Leviathan Advisors Limited Cyprus $l 1,237
Florida) 12/21/2011 Biaei< sea view Limited Cyprus 320,000
2/9/2012 Global Highway Limited Cyprus $51,000
5/17/2012 Lucicle Consultants Limited Cyprus $68,000
6/19/2012 Lucicle Consultants Limited Cyprus $60,000
7/18/2012 Lucicle Consultants Limited Cyprus $32,250
9/19/2012 Lucicle Consultants Limited Cyprus $l 12,000
11/30/2012 Lucicle Consultants Limited Cyprus $39,700
1/9/2013 Lucicle Consultants Limited Cyprus $25,600
2/28/2013 Lucicle Consultants Limited Cyprus $4,700
Vendor J Total $432,487

 

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Payee Transaction ()riginating Account Country of Amount of
Date Holder Origination Transaction
Vendor K 12/5/201 1 Leviathan Advisors Limited Cyprus $4,1 15
(Landscap€r in 3/1/2012 Global Highway Limited Cyprus $50,00<)
the HamPfO“S, 6/6/2012 Lueieie Consultants Limited cyprus $47,800
NeW York) 6/25/2012 Lucicle Consultants Limited Cyprus $17,900
6/27/2012 Lucicle Consultants Limited Cyprus 318,900
2/12/2013 Lueieie Consultants Limited Cyprus $3,300
7/15/2013 Pernpeie Limited Ul“ted s13,325
ngdom
11/26/2013 Global Endeavour lnc. Grenadines $9,400
Vendor K Total $164,740
Vendor L 4/12/2012 Lucicle Consultants Limited Cyprus $83,525
(Payments 5/2/2012 Lucicle Consultants Limited Cyprus $12,525
Relating to three
Range ROVerS) 6/29/2012 Lucicle Consultants Limited Cyprus $67,655
Vendor L Total $163,705
Vendor M l 1/20/2012 Lucicle Consultants Limited Cyprus $45,000
(COntraCtOr in 12/7/2012 Lucicle Consultants Limited Cyprus 821,000
Virginia) 12/17/2012 Lueieie Censu1tants Limited Cyprus 321,000
1/17/2013 Lucicle Consultants Limited Cyprus $18,750
1/29/2013 Lucicle Consultants Limited Cyprus $9,400
2/12/2013 Lucicle Consultants Limited Cyprus $10,500
Vendor M 'l`otal $125,650
Vendor N 1/29/2009 Yiakora Ventures Limited Cyprus $10,000
(Audio, Vid€O, 3/17/2009 Yiakora Ventures Limited Cyprus $21,725
and C@mrol 4/16/2009 Yiakora Ventures Limited Cyprus $24,650
SySt€m HOm@ 12/2/2009 olebel Highway Limited Cyprus s10,000
Imegrati_°n and 3/8/2010 Global Highway Limited Cyprus $20,300
I"Sta"a“‘"? 4/23/2010 Yiakora ventures Limited Cyprus $8,500
Company in the
$:’;;‘;tons’ New 7/29/2010 Leviathan Advisors Limited Cyprus s17,650
Vendor N Total $112,825
Vendor 0
(Purchase of 10/5/2012 Lucicle Consultants Limited Cyprus $62,750
l\/lercedes Benz)

 

 

 

 

 

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Payee Transaction Originating Account Country of Amount of
Date Holder Origination Transaction
Vendor 0 Total $62,750
Vendor P
(Purchase of 12/30/2008 Yiakora Ventures Limited Cyprus $47,000
Range Rover)
Vendor P 'l`otal $47,000
Vendor Q 9/2/2010 Yiakora Ventures Limited Cyprus $10,000
(Property 10/6/2010 Global Highway Limited Cyprus 810,000
Mana§emem 1.0/18/2010 Leviathan Advisors Limited Cyprus $10,000
Company in 2/8/201 l Global Highway Limited Cyprus $13,500
South Carolina)
2/9/2012 Global Highway Limited Cyprus $2,500
Vendor Q Total 546,000
Vendor R 2/9/201 1 Global Highway Limited Cyprus $17,900
(Art Gallery in , _ _
Florida) 2/14/2013 Luc1cle Consultants Limited Cyprus $14,000
Vendor R Total $31,900
Vendor S 9/26/201 l Leviathan Advisors Limited Cyprus $5,000
(HOUS€k€€pirlg in 9/19/2012 Lucicle Consultants Limited Cyprus $5,000
New York)
10/9/2013 Global Endeavour lnc. Grenadines $10,000
Vendor S Total $20,000
17. In 2012, Manafort caused the following wires to be sent to the entities listed below to

purchase the real estate also listed below. Manafort did not report the money used to make these

purchases on his 2012 tax return.

 

 

 

 

 

 

 

 

 

 

Property Originating Country of
Purchased Payee Date Account Origin Amount
Howard Street DMP Peranova Holdin s
Condominium International 2/1/2012 bimith g Cyprus $ l ,500,000
(New York) LLC

. Attorney Actinet Trading
Unlon Street Account Of l 1/29/2012 Limited Cyprus $l,800,000
Brownstone’ [Real Estate Actinet Trading

a

(New York) Atmmey] l 1/29/201_ Limited Cyprus $l,200,000

 

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Property Originating Country of

Purchased Payee Date Account Origin Amount

Arlington .

Heuse RealEStat€ 8/31/2012 I“.“c‘.°]e Consultants Cyprus s1,900,000
. . . Trust L1m1ted

(Virgmia)

 

 

 

 

Manafort And GATES’ Hiding Of Ukraine Lobbying And Public Relations Work

18. lt is illegal to act as an agent ofa foreign principal engaged in certain United States influence
activities without registering the affiliation Specifically, a person who engages in lobbying or
public relations work in the United States (hereafter collectively referred to as lobbying) for a
foreign principal such as the Government of Ukraine or the Party ofRegions is required to provide
a detailed written registration statement to the United States Department of Justice. The filing,
made under oath, must disclose the name ofthe foreign principal, the financial payments to the
lobbyist, and the measures undertaken for the foreign principal, among other information A
person required to make such a filing must further make in all lobbying material a “conspicuous
statement” that the materials are distributed on behalfofthe foreign principal, among other things
The filing thus permits public awareness and evaluation ofthe activities ofa lobbyist who acts as
an agent ofa foreign power or foreign political party in the United States

19. ln furtherance of the scheme, from 2006 until 2014, both dates being approximate and
inclusive, Manafort and GATES engaged in a multi-million dollar lobbying campaign in the
United States at the direction of Yanukovych, the Party of Regions, and the Government of
Ukraine. Manafort and GATES did So without registering and providing the disclosures required
by law.

20. As part ofthe scheme, in February 2012, Manafort and GATES solicited two Washington,

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D.C., firms (Company A and Company B) to lobby in the United States on behalfonanukovych,
the Party of Regions, and the Government of Ukraine. For instance, GATES wrote to Company
A that it would be “representing the Government of Ukraine in [Washington,] DC.”

21 . Manafort repeatedly communicated in person and in writing with Yanukovych, and GATES
passed on directions to Company A and Company B. For instance, Manafort wrote Yanukovych
a memorandum dated April 8, 2012, in which he provided Yanukovych an update on the lobbying
firms’ activities “since the inception ofthe project a few weeks ago. lt is my intention to provide
you with a weekly update moving forward.” Toward the end ofthat first year, in November 2012,
GATES wrote to Company A and Company B that the firms needed to prepare an assessment of
their past and prospective lobbying efforts so the “President” could be briefed by “Paul” “on what
Ukraine has done well and what it can do better as we move into 2013.”

22. At the direction ofl\/Ianafort and GATES, Com pany A and Company B engaged in extensive
lobbying. Among other things, they lobbied multiple l\/Iembers ofCongress and their staffs about
Ukraine sanctions, the validity of Ukraine elections, and the propriety of Yanukovych’s
imprisoning his presidential rival, Yulia Tymoshenko (who had served as Ukraine President prior
to Yanukovych). Manafort and GATES also lobbied in connection with the roll out ofa report
concerning the Tymoshenko trial commissioned by the Government of Ukraine. Manafort and
GATES used one oftheir offshore accounts to funnel $4 million to pay secretly for the report.
23. To minimize public disclosure oftheir lobbying campaign, Manafort and GATES arranged
for the Centre to be the nominal client of Company A and Company B, even though in fact the
Centre was under the ultimate direction ofthe Government of Ukraine, Yanukovych, and the Party
of Regions. For instance, Manafort and GATES selected Company A and Company B, and only

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thereafter did the Centre sign contracts with the lobbying firms without ever meeting either
company. Company A and Company B were paid for their services not by their nominal client,
the Centre, but solely through off-shore accounts associated with the Manafort-GATES entities,
namely Bletilla Ventures Limited (in Cyprus) and Jeunet Ltd. and Global Endeavour lnc. (in
Grenadines). In total, Company A and Company B were paid more than $2 million from these
accounts between 2012 and 2014.

24. To conceal the scheme, Manafort and GATES developed a false and misleading cover story
that would distance themselves and the Government of Ukraine, Yanukovych, and the Party of
Regions from the Centre, Company A, and Company B. For instance, in the wake of extensive
press reports on Manafort and his connections with Ukraine, on August 16, 2016, GATES
communicated false talking points to Company B in writing, including:

0 Q: “Can you describe your initial contact with [Company B] and the lobbying goals
he discussed with them?” A: “We provided an introduction between the [Centre]
and [Company B/Company A] in 2012. The [Centre] was seeking to retain
representation in Washington, DC to support the mission ofthe NGO.”

o A: “Our [Manafort and GATES’] task was to assist the [Centre] find representation
in Washington, but at no time did our firm or members provide any direct lobbying
support.”

o A: “The structure ofthe arrangement between the [Centre] and [Company A and
Company B] was worked out by the two parties.”

0 Q: “Can you say where the funding from for [sic] the [Centre] came from? (this

amounted to well over a million dollars between 2012 and 2014).” A: "This is a

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question better asked of the [Centre] who contracted with the two firms.”

0 Q: “Can you describe the lobbying work specifically undertaken by [Company B]
on behalfofthe Party of Regions/the [Centre]?” A: “This is a question better asked
to Company B and/or the [Centre] as the agreement was between the parties Our
firm did not play a role in the structure, nor were we registered lobbyists.”

Company B through a principal replied to GATES the same day that “there’s a lot of email traffic
that has you much more involved than this suggests[.] We will not disclose that but heaven knows
what former employees of[Company B] or [Company A] might say.”
25. In September 2016, after numerous recent press reports concerning Manafort, the
Department ofJustice informed Manafort, GATES, and DMl that it sought to determine whether
they had acted as agents of a foreign principal under the Foreign Agents Registration Act (FARA),
without registering ln November 2016 and February 2017, Manafort, GATES, and DMI caused
false and misleading letters to be submitted to the Department ofJustice, which mirrored the false
cover story set out above. The letters, both of which were approved by Manafort and GATES
before they were submitted, represented, among other things, that:
¢ Dl\/ll`s “efforts on behalf ofthe Party of Regions” “did not include meetings or
outreach within the U.S.”;
o Manafort and GATES did not “recall meeting with or conducting outreach to
U.S. government officials or U.S. media outlets on behalf ofthe [Centre], nor
do they recall being party to, arranging or facilitating any such
communications Rather, it is the recollection and understanding of l\/lessrs.

Gates and l\/lanafort that such communications would have been facilitated and

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conducted by the [Centre’s] U.S. consultants, as directed by the [Centre]. . . .”;
0 Manafort and GATES had merely served as a means of introduction of
Company A and Company B to the Centre and provided the Centre with a list
of“potential U.S.-based consultants_including [Company A] and [Company
B]-for the [Centre’s] reference and further consideration.”
0 Dl\/ll “does not retain communications beyond thirty days” and as a result of
this policy, a “search has returned no responsive documents.” The November
2016 letter attached a one-page, undated document that purported to be a Dl\/ll
“Email Retention Policy.”
26. In fact, Manafort and GATES had: selected Company A and Company B; engaged in
weekly scheduled calls and frequent emails with Company A and Company B to provide them
directions as to specific lobbying steps that should be taken; sought and received detailed oral and
written reports from these firms on the lobbying work they had performed; communicated with
Yanukovych to brief him on their lobbying efforts; both congratulated and reprimanded Company
A and Company B on their lobbying work; communicated directly with United States officials in
connection with this work; and paid the lobbying firms over $2 million from offshore accounts
they controlled, among other things In addition, court-authorized searches of Manafort and
GATES` DMI email accounts and Manafort`s Virginia residence in July 2017 revealed numerous
documents, including documents related to lobbying, which were more than thirty-days old at the
time ofthe November 2016 letter to the Department ofJustice.
Manafort And GATES` Hiding OfForeign Bank Accounts And False Filings

27. United States citizens who have authority over certain foreign bank accounts -- whether or

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not the accounts are set up in the names of nominees who act for their principals -- have reporting
obligations to the United States

28. First, the Bank Secrecy Act and its implementing regulations require United States citizens
to report to the United States Treasury any financial interest in, or signatory authority over, any
bank account or other financial account held in foreign countries, for every calendar year in which
the aggregate balance of all such foreign accounts exceeds $10,000 at any point during the year.
This is commonly known as a foreign bank account report or “FBAR.” The Bank Secrecy Act
requires these reports because they have a high degree of usefulness in criminal, tax, or regulatory
investigations or proceedings The United States Treasury’s Financial Crimes Enforcement
Network (FinCEN) is the custodian for FBAR filings, and FinCEN provides access to its FBAR
database to law enforcement entities, including the Federal Bureau of Investigation. The reports
filed by individuals and businesses are used by law enforcement to identify, detect, and deter
money laundering that furthers criminal enterprise activity, tax evasion, and other unlawful
activities

29. Second, United States citizens also are obligated to report information to the IRS regarding
foreign bank accounts For instance, in 2010 Form 1040, Schedule B had a "Yes” or “No” box to
record an answer to the question: "At any time during [the calendar year], did you have an interest
in or a signature or other authority over a financial account in a foreign country, such as a bank
account, securities account, or other financial account?" lfthe answer was "Yes,” then the form
required the taxpayer to enter the name ofthe foreign country in which the financial account was
located.

30. For each year in or about and between 2008 through at least 2014, Manafort had authority

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over foreign accounts that required an FBAR report. Specifically, Manafort was required to report
to the United States Treasury each foreign bank account held by the foreign Manafort-GATES
entities noted above in paragraph 12 that bear the initials Pl\/l. No FBAR reports were made by
Manafort for these accounts

31. For each year in or about and between 2008 through at least 2013, GATES had authority
over foreign accounts that required an FBAR report. Specifically, GATES was required to report
to the United States Treasury each foreign bank account held by the foreign Manafort-GATES
entities noted above in paragraph 12 that bear the initials RG, as well as three other accounts in
the United Kingdom. No FBAR reports were made by GATES for these accounts

32. Furthermore, in each of Manafort’s tax filings for 2008 through 2014, Manafort represented
falsely that he did not have authority over any foreign bank accounts Manafort and GATES had
repeatedly and falsely represented in writing to Manafort’s tax preparer that Manafort had no
authority over foreign bank accounts knowing that such false representations would result in false
Manafort tax filings For instance, on October 4, 201 1, Manafort’s tax preparer asked Manafort
in writing: “At any time during 2010, did you [or your wife or children] have an interest in or a
signature or other authority over a financial account in a foreign country, such as a bank account,
securities account or other financial account?” On the same day, Manafort falsely responded
"NO."’ Manafort responded the same way as recently as October 3, 2016, when l\/Ianafort`s tax
preparer again emailed the question in connection with the preparation of Manafort`s tax returns:
"Foreign bank accounts etc.?" Manafort responded on or about the same day: "NONE."
Manafort And GATES’ Fraud To lncrease Access To Offshore l\/lonev

33. After Manafort used his offshore accounts to purchase real estate in the United States, he

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took out mortgages on the properties thereby allowing Manafort to have the benefits of liquid
income without paying taxes on it. Further, Manafort defrauded the banks that loaned him the
money so that he could withdraw more money at a cheaper rate than he otherwise would have been
permitted

34. ln 2012, Manafort, through a corporate vehicle called “MC Soho Holdings, LLC” owned
by him and his family, bought a condominium on Howard Street in the Soho neighborhood in
Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase the
condominium came from Manafort entities in Cyprus. Manafort used the property from at least
January 2015 through 2016 as an income-generating rental property, charging thousands ofdollars
a week on Airbnb, among other places ln his tax returns, Manafort took advantage of the
beneficial tax consequences of owning this rental property.

35. ln late 2015 through early 2016, Manafort applied for a mortgage on the condominium.
Because the bank would permit a greater loan amount if the property were owner-occupied,
Manafort falsely represented to the bank and its agents that it was a secondary home used as such
by his daughter and son-in-law and was not a property held as a rental property. For instance, on
January 26, 2016, Manafort wrote to his son-in-law to advise him that when the bank appraiser
came to assess the condominium his son-in-law should "[r]emember, he believes that you and
[l\/lanafort`s daughter] are living there.” Based on a request from Manafort, GATES caused a
document to be created which listed the Howard Street property as the second home of Manafort’s
daughter and son-in-law, when GATES knew this fact to be false. As a result of his false
representations, in March 2016 the bank provided Manafort a loan for approximately $3.185`000.
36. Also in 2012, Manafort -- through a corporate vehicle called “MC Brooklyn Holdings, LLC”

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similarly owned by him and his family -- bought a brownstone on Union Street in the Carroll
Gardens section of Brooklyn, New York. He paid approximately $3,000,000 in cash for the
property. All of that money came from a Manafort entity in Cyprus After purchase of the
property, Manafort began renovations to transform it from a multi-family dwelling into a single
family home. In late 2015 through early 2016, Manafort sought to borrow cash against the
property. The institution Manafort went to for the loan provided greater loan amounts for
“construction loans” -- that is, loans that required the loan amounts to be used to pay solely for
construction of the property and thus increase the value of the property serving as the loan’s
collateral. The institution would thus loan money against the expected completed value ofthe
property, which in the case of the Union Street property was estimated to be $8,000,000. In early
2016, Manafort was able to obtain a loan of approximately $5,000,000, after promising the bank
that approximately $1,400,000 of the loan would be used solely for construction of the Union
Street property. However, Manafort never intended to limit use of the proceeds to construction as
required by the loan contracts ln December 2015, before the loan was made, Manafort wrote his
tax preparer, among others, that the construction loan “will allow me to pay back the [another
Manafort apartment] mortgage in full. . . .” Further, when the construction loan closed, Manafort
used hundreds of thousands of dollars from the construction loan to make a down payment on
another property in California.
COUNT ONE
Conspiracv Against The United States

37. From in or about and between 2006 and 2017` both dates being approximate and inclusive,
in the District ofColumbia and elsewhere, the defendant RICHARD W. GATES 111, together with

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others, knowingly and intentionally conspired to defraud the United States by impeding, impairing,
obstructing, and defeating the lawful governmental functions ofa government agency, namely the
Department of Justice and the Department of the Treasury, and to commit offenses against the
United States, to wit, the violations of law charged in Counts Three through Six and Ten through
Twelve ofthe lndictment returned in this matter on October 27, 2017 (Indictment).
38. ln furtherance of the conspiracy and to effect its illegal object, GATES, together with others,
committed the overt acts noted in Count Eleven of the Indictment and the overt acts, among others,
in the District of Columbia and elsewhere as set forth in paragraphs 9, 16, 17, 20-25, 32, and 34-
36, which are incorporated herein.

COUNT TWO

False Statement
39. On or about February_ 1, 2018, in the District of Columbia, the defendant RICHARD W.
GATES 111 did willfully and knowingly make a materially false, fictitious and fraudulent
statement and representation in a matter within the jurisdiction of the executive branch of the
Government of the United States, to wit, the defendant falsely stated and represented to the Special
Counsel`s Office, including Special Agents ofthe Federal Bureau of Investigation:

(i) that after a March 19, 2013 meeting in Washington, D.C. attended by Manafort, a
senior Company A lobbyist, and a Member of Congress (the Meeting), he was
told by Manafort and a senior Company A lobbyist that there were no discussions
of Ukraine at the Meeting;

when, in fact, as he then and there well knew:

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(ii)

(a) Manafort and the senior Company A lobbyist had not made the above
statements to him; (b) Manafort and the senior Company A lobbyists had told him
that the meeting went well; (c) GATES had participated with Manafort in
preparing a report that memorialized for Ukraine leadership the pertinent Ukraine
discussions that Manafort represented had taken place at the meeting; and (d)
Manafort told GATES in 2016 that Manafort told his FARA lawyer that there had
been no discussion of Ukraine at the Meeting.

(18 U.S.C. §1001(a))

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